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   1                                        NOTE: CHANGES MADE BY COURT
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   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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  10   GATEKEEPER SYSTEMS, INC., a           Case No. 8:22-cv-02092-FWS-KES
       Delaware corporation
  11                                         STIPULATION AND ORDER [38]
  12                 Plaintiff,

  13   v.
  14
       ROCATEQ USA, LLC; and
  15   ROCATEQ INTERNATIONAL B.V.,
  16                 Defendants.
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   1         WHEREAS Plaintiff Gatekeeper Systems, Inc. (“Plaintiff” or “Gatekeeper”)
   2   filed a complaint before the United States District Court, Central District of
   3   California alleging that Rocateq International B.V. and Rocateq USA, LLC
   4   (collectively, “Defendants” or “Rocateq”) infringe U.S. Patent No. 8,463,540 (“the
   5   ’540 Patent”), U.S. Patent No. 9,091,551 (“the ’551 Patent”), U.S. Patent No.
   6   9,637,151 (“the ’151 Patent”), U.S. Patent No. 11,230,313 (“the ’313 Patent”), U.S.
   7   Patent No. 11,358,621 (“the ’621 Patent”), U.S. Patent No. 9,845,072 (“the ’072
   8   Patent”), and U.S. Patent No. 10,196,040 (“the ’040 Patent”) (collectively, the
   9   “Asserted Patents”);
  10         WHEREAS, Gatekeeper’s complaint alleged that Rocateq’s Check Out
  11   Security System infringes the ’540 Patent, the ’551 Patent, the ’151 Patent, the ’313
  12   Patent, and the ’621 Patent (collectively, the “Pushout Protection Patents”) and
  13   Rocateq’s Cart Security System infringes the ’072 Patent and ’040 Patent
  14   (collectively, the “One Line Patents”);
  15         WHEREAS, Gatekeeper accused Rocateq’s Check Out Security System using
  16   both a VLF receiver and an RF transceiver, where signals from both receivers are
  17   used for check-out theft prevention, as described in the document “TRAINING doc,
  18   The Rocateq Check out Security System in USA, Version 7,” Bates No.
  19   ROCATEQ_ITC_00000023-ROCATEQ_ITC_00000050, and any other security
  20   system substantially similar to the foregoing (collectively, the “Rocateq 2R-COS
  21   System”) of infringing the Pushout Protection Patents;
  22         WHEREAS, Gatekeeper accused Rocateq’s Cart Security system of infringing
  23   the One Line Patents;
  24         WHEREAS, Gatekeeper and Rocateq have entered into an agreement to
  25   dismiss without prejudice the instant action,
  26         WHEREAS, neither party admits to liability against any claims or defenses;
  27   and
  28         WHEREAS, Plaintiff and Defendants, through their respective counsel,

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   1   hereby agree to entry of the terms of the Stipulation [38].
   2           Having reviewed and considered the Stipulation [38], the files and records of
   3   the case, the Court GRANTS the Stipulation [38] and ORDERS the following:
   4           1.    This is an action for patent infringement under the patent laws of the
   5   United States, Title 35 of the United States Code.
   6           2.    The Court has subject matter jurisdiction over the allegations set forth
   7   in Gatekeeper’s Complaint and personal jurisdiction over Rocateq for purposes of
   8   the Stipulation [38]. Venue is proper in this Court.
   9           3.    Gatekeeper and Rocateq each expressly waives all rights to seek
  10   judicial review or otherwise to challenge or to contest the validity of the Stipulation
  11   [38].
  12           4.    Effective as of September 13, 2023 (“Effective Date”), Rocateq and its
  13   Affiliates1, and all those acting in concert with any of the foregoing (collectively,
  14   the “Rocateq Entities”), shall cease, directly or indirectly, from making, having
  15   made, developing, having developed, using, selling, offering for sale, importing,
  16   exporting, repairing and servicing the Rocateq 2R-COS System (the “2R-COS
  17   Covenant”), with the following exceptions:
  18                 (a)   On or before September 30, 2023, the Rocateq Entities shall
  19   cease to, directly or indirectly, sell, offer for sale and/or contract for sale of new
  20   installations of the Rocateq 2R-COS System in the United States, provided that, for
  21   the avoidance of doubt, any sale for installation in the United States made on or
  22   before September 30, 2023 must be installed on or before March 15, 2024;
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         “Affiliate” means, with respect to a Party, any person or entity that controls, is
       controlled by, or is under common control with, such Party. For purposes of the
  26   foregoing, “control” means having the power, directly or indirectly, to direct or cause
  27   the direction of the management and policies of such person or entity, whether
       through the ownership of voting securities, by contract, as a matter of law or
  28   otherwise.
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   1                (b)    On or before March 15, 2024, the Rocateq Entities shall cease all
   2   installations of the Rocateq 2R-COS System; and
   3                (c)    For the period between the Effective Date and September 15,
   4   2026, Rocateq may provide replacement parts and services for Rocateq 2R-COS
   5   Systems that were installed prior to the Effective Date, or new installations made by
   6   March 15, 2024 as permitted under (a), provided that the Rocateq 2R-COS System
   7   for which parts or service is being provided is at the location at which it was
   8   originally installed and the associated customer is the original customer or an
   9   acquirer of the original customer that purchased the Rocateq 2R-COS System.
  10   During such period, the Rocateq Entities shall not provide replacement parts or
  11   services for any Rocateq 2R-COS Systems other than those expressly permitted
  12   under this Section 4(c). On or before September 15, 2026, the Rocateq Entities shall
  13   cease to provide, directly or indirectly, all replacement parts and services for all
  14   Rocateq 2R-COS Systems.
  15         5.     For the purposes of clarity, the cease-and-desist order of paragraph 4
  16   above does not apply to Rocateq systems for prevention of pushout theft by use of a
  17   shopping cart or other wheeled cart or trolley that use only a 2.4 GHz RF transceiver
  18   (or an alternative single-frequency transceiver operating at a substantially similar or
  19   higher or lower frequency) for check-out theft prevention and are described as
  20   “Check Out Security 2.0 (2.4GHz)” in the document “Design Change Check Out
  21   Security 2.0 RFID System Version 2, 2023” (Production Number Bates No
  22   ROCATEQ_ITC_00004401).
  23         6.     Each party shall bear its own costs and attorneys’ fees.
  24         7.     Upon entry of this Order, all claims and counterclaims are dismissed
  25   without prejudice, provided, however, that this Court shall retain jurisdiction to
  26   enforce the terms and provisions of the Stipulation [38] and this Order until further
  27   order of the court. For avoidance of doubt, all claims and counterclaims with respect
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   1   to both Pushout Protection Patents and One-Line Patents are DISMISSED
   2   WITHOUT PREJUDICE.
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   4        IT IS SO ORDERED.
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   7   Dated: September 18, 2023            ______________________________
                                            Hon. Fred W. Slaughter
   8                                        UNITED STATES DISTRICT JUDGE
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